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                            EXHIBIT 12
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EQUITY RESEARCH                    INDUSTRY UPDATE
April 6, 2021

■ Biotechnology                    FAILED EXPAREL STUDIES OPEN THE DOOR TO
                                   AN EFFECTIVE HTX-011 MARKETING CAMPAIGN
Boris Peaker, Ph.D., CFA           THE COWEN INSIGHT
646 562 1377                       Heron's PDUFA (5/12/2021) for HTX-011 is the first meaningful challenge to Pacira's
boris.peaker@cowen.com
                                   Exparel in postsurgical pain management. Despite the regulatory risk, we believe that Heron
Cynthia Chen, Ph.D.                has multiple advantages in strength of efficacy data and convenience of administration. A
646 562 1304                       number of negative studies recently published and soon to report could be effectively used
cynthia.chen@cowen.com
                                   to counter-market against Exparel.

                                   HTX-011 the First Meaningful Challenger to Exparel
                                   Heron's upcoming PDUFA date for HTX-011 (5/12/2021) is the first time we could see a
                                   meaningful competitor into the postsurgical pain management space to challenge Exparel.
                                   Xaracoll and Posimir were approved with limited labels due to weak efficacy data that we
                                   expect will prevent them from becoming substantial competitors to Exparel. However, we
                                   anticipate HTX-011 to be approved with a broad label similar to Exparel but with stronger
                                   clinical data due to the use of an active comparator in the registrational trials.
                                   Potential Upside from Regulatory Risk for HTX-011
                                   Investors see significant risk for HTX-011's approvability. HTX-011 received 2 CRLs (for
                                   non-clinical issues) and the FDA DAAP group has a history of missing PDUFA dates and
                                   surprise CRLs. This risk is being reflected in the short interest in HRTX, which has been
                                   rising over the last 6 months. We see a large potential upside with the approval of HTX-011
                                   (100%+).
                                   Failed Exparel Studies Create an Opportunity for HTX-011 Marketing
                                   A key investor question has been whether Heron will be able to effectively market HTX-011
                                   if approved since Exparel is viewed as an entrenched market leader. Multiple recent
                                   publications have cast doubt on the efficacy of Exparel, especially vs active comparators
                                   (recall Exparel was approved in studies vs placebo, but standard of care is generic
                                   bupivacaine). There are 88 additional trials in progress testing Exparel in a variety of
                                   indications that have potential negative readouts. These studies are not presently receiving
                                   much attention, but could be used to effectively counter-market if HTX-011 is approved.
                                   Pacira Model Updated to Reflect Slower Growth Rate Post HTX-011
                                   We updated our Pacira model to reflect a decrease in the rate of Exparel growth after 2021
                                   due to sales pressure from approval of HTX-011. We now model Exparel sales growing to
                                   $611M in 2026, below consensus of $776M.




                                   Please see pages 12 to 16 of this report for important disclosures.      COWEN.COM
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                                 EXPAREL: THE NUMBNESS IS WEARING OFF

                                 Pacira’s Exparel (liposomal bupivacaine) is the clear market leader in branded post-
                                 surgical local anesthesia. Recent entrants into this market – Innocalls’s Xaracoll
                                 (bioresorbable collagen embedded bupivacaine) and Posimir’s Durect (polymer based
                                 bupivacaine) – have been unable to effectively compete due to their limited labels.
                                 However, we believe that Exparel’s success rests on an unstable foundation. The three
                                 studies that initially led to Exparel’s approval in 2011 compared Exparel to placebo, not
                                 the standard of care (SOC) – generic bupivacaine. Pacira did complete a Phase 4 post-
                                 marketing study in which they compared Exparel to bupivacaine, but statistical and
                                 methodological issues have raised doubts about the clinical applicability of these
                                 findings. Despite those issues, Exparel has propelled Pacira to revenues >$400MM.
                                 Heron’s HTX-011 is a polymer-based bupivacaine that has shown clear benefit over SOC
                                 in head-to-head trials but has received 2 CRLs in the past 2 years for non-clinical issues.
                                 HTX-011’s upcoming May 12, 2021 PDUFA target date sets the stage for a market
                                 competition between these two compounds if HTX-011 is approved, as we expect.

                                 A key question we have been receiving from investors leading up to the HTX-011
                                 PDUFA is – if approved, will Heron be able to effectively market HTX-011 vs Exparel?
                                 Based on the trials for both drugs, we expect the answer is yes – we believe HTX-011
                                 will be able to compete both on efficacy, safety, and convenience. Furthermore, a recent
                                 series of journal publications of investigator-sponsored trials (ISTs) comparing Exparel
                                 to bupivacaine has begun to cast further doubt on Exparel’s ability to beat SOC broadly.
                                 Due to the fact that Xaracoll and Durect have been ineffective competitors to Exparel,
                                 we suspect there has been little effort dedicated to marketing these negative results.
                                 These data are likely to become more significant if and when HTX-011 is approved, since
                                 the Phase 3 trial of HTX-011 included bupivacaine as an active comparator.

                                 Nevertheless, the approval of HTX-011 isn’t without controversy. After 2 CRLs there is a
                                 contingent of investors who have significant doubts about its overall approvability. We
                                 believe that the approval of HTX-011 in Europe in 2020 bodes well for its approvability
                                 in the US. We expect HTX-011 to be approved and model peak sales of $1.3B in 2035.
                                 Short interest in HRTX (shown below) has been building, suggesting large potential
                                 upside with HTX-011 approval. In the rest of this report, we briefly review the data
                                 supporting Exparel’s label and look at the emerging body of literature directly
                                 comparing Exparel with SOC. These data are likely to form the basis of an effective
                                 marketing strategy by Heron post-approval.




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                                 Short Interest in HRTX Building Since August 2020



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                                 Source: Cowen and Company, Thomson Reuters




                                 Exparel: Leading the Market with a Broad Label

                                 Exparel, Xaracoll, and Posimir are the only approved extended-release bupivacaine for
                                 post-operative pain indications. Exparel was approved in 2011 and carries label
                                 indications for post-surgical local analgesia via infiltration and interscalene brachial
                                 plexus nerve block for post-surgical regional analgesia. Xaracoll was approved in August
                                 2020 and its label indication is for 24 hours of post-surgical analgesia only after open
                                 inguinal hernia repair. Posimir was approved in February 2021 and its only label
                                 indication is for 72 hours of post-surgical analgesia after arthroscopic subacromial
                                 decompression. We do not see either of these as significant threats to Exparel’s market
                                 leadership. Pacira reported 2020 Exparel sales of $413M and we project sales growing
                                 to $611M in 2026, below consensus estimate of $776M.


                                 Exparel Annual Sales, Actual and Projected, 2012-2026


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                                                                               -   Actual      - • - Cowen Estimate            - • - Consensus

                                 Source: Cowen and Company, Consensus from Thomson Reuters




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                                 We anticipate the 2021 approval of HTX-011 will affect the growth trajectory of
                                 Exparel. We also want to be clear that we don’t anticipate HTX-011 will shrink Exparel’s
                                 market, but we do anticipate it to have a material impact on future growth. Therefore
                                 our projected rate of Exparel growth is below consensus in 2022 and beyond. We
                                 believe Heron will be more effective at marketing into new segments and potentially
                                 incrementally taking share from Exparel. We remain Market Perform on Pacira.

                                 Exparel’s Approval Left Something to be Desired

                                 Exparel’s approval for the local analgesia indication was supported by a bunionectomy
                                 study and a hemorrhoidectomy study. The bunionectomy study randomized 193
                                 patients to Exparel or placebo. There was a reduction in pain through 24 hours as
                                 measured by the AUC of the numerical rating scale (NRS), but there was no difference in
                                 morphine equivalents used through 24 hours, and there was not a statistically
                                 significant difference in the number of patients using ketorolac. The hemorrhoidectomy
                                 study randomized 189 patients to Exparel or placebo. Again AUC of the NRS scores was
                                 significantly reduced in the Exparel group, and the differences between the groups were
                                 most evident in the first 24 hours. Additionally, 28% of patients in the Exparel group
                                 required no rescue pain medication vs 10% in the placebo, and the mean amount of
                                 morphine used over 72 hours was 22 mg in the Exparel group but 29 mg in the placebo
                                 group. This difference was statistically significant but even the label questions whether
                                 this difference is clinically meaningful.

                                 Our consultants and KOLs have repeatedly raised the issue of placebo comparator in
                                 these trials. The standard of care for local analgesia is not placebo – it is an active drug.
                                 Surgeons commonly use one or a mixture of generic bupivacaine, ropivacaine, lidocaine,
                                 and procaine for this purpose. Given that the cost of Exparel is nearly 100x the cost of
                                 generic bupivacaine, physicians want to see data for Exparel against active comparator
                                 instead of placebo. Pacira performed a post-marketing study (the PILLAR trial) with the
                                 goal of addressing this concern. In PILLAR, the Exparel arm achieved a statistically
                                 significant reduction in AUC of visual rating scores (VRS) vs control (p=0.0381). Patients
                                 who received Exparel consumed significantly fewer opioids versus control during the 48
                                 hours that followed surgery (p=0.0048). Additionally, a higher fraction of patients on
                                 Exparel required no rescue medication (p = 0.023), although the absolute delta between
                                 the two curves is rather modest. The study design left some unanswered questions.
                                 Primarily, the two arms were bupivacaine and Exparel + bupivacaine, and in the Exparel
                                 + bupivacaine arm the patients received more total bupivacaine than in the SOC
                                 comparator. As such, the trial was not a head to head vs. SOC, but an add-on of Exparel
                                 to bupivacaine.




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                                 Market Penetration of Exparel


                                                    ■ EXPAREL Penetration       !HH Market Procedures(# in M)

                                                            Orthopedics
                                                  Abdo mi nal/Colorectal
                                                                     OMFS
                                                       Women's Health
                                                          Cardiothoracic


                                      14.8

                                                   Potential Procedures




                                 Source: Pacira




                                 HTX-011’s Registrational Trials Include an Active Comparator

                                 Heron studied HTX-011 in multiple trials that included an active comparator. Study
                                 301/EPOCH1 was a Phase 3 bunionectomy trial that compared instilled HTX-011 vs
                                 generic bupivacaine vs placebo and showed a significant reduction in pain intensity
                                 scores over a 72 hour period after surgery. Although we don’t anticipate an opioid-
                                 sparing claim on the label, there was also a significant increase in patients remaining
                                 opioid free through 72 hours (53.5% bs 75.5% in bupivacaine group, p<0.0001).




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                                 HTX-011 Study 301/EPOCH1 Bunionectomy Pain Intensity Scores

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                                 Source: Heron Therapeutics




                                 Study 302/EPOCH2 was a Phase 3 herniorrhaphy trial that compared instilled HTX-011
                                 vs generic bupivacaine vs placebo and the results were similar to study 301. There was
                                 a significant reduction in pain intensity scores through 72 hours and fewer patients
                                 requiring opioids (48.8% vs 60.5% in bupivacaine group, p=0.0372).


                                 HTX-011 Study 302/EPOCH2 Herniorrhaphy Pain Intensity Scores


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                                 Source: Heron Therapeutics




                                 Emerging Data Casts Doubt on Exparel’s Efficacy vs SOC

                                 Since Exparel’s approval in 2011, there has only been one voice in the room: Pacira. That
                                 has helped lead to the impressive growth of Exparel sales. As of March 2021, Pacira was
                                 estimating a total addressable procedure market of 33M procedures. Based on the
                                 published WAC for Exparel and reported Exparel sales, we estimate Pacira has captured
                                 ~1.5M or 4.5% of these procedures. However, we heard from many physicians the
                                 desire to see real head-to-head data for Exparel vs. bupivacaine, and Pacira refused to
                                 conduct such trials. As such, independent investigators decided to address this question
                                 across a variety of surgical settings.

                                 A significant body of literature from independent investigators has accumulated over
                                 the last several years that has begun to cast doubt on the effectiveness of Exparel. Most
                                 of these studies are ISTs (investigator sponsored trials) that don’t receive much press.
                                 The February 2021 edition of Anesthesiology featured two articles on Exparel – one a


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                                 narrative review, the other a systematic review and meta-analysis. Both of these
                                 articles concluded that there is insufficient benefit of Exparel to justify the costs.

                                 The narrative review, published by Ilfeld et al, summarized results from 76 trials of
                                 Exparel across a wide range of procedures (no procedures were excluded). For
                                 infiltrative local analgesia, there were 12 trials vs placebo; 7 of 12 failed to find a benefit
                                 of Exparel on pain scores, opioid consumption, or length of hospital stay. In the 5 that
                                 did find a benefit, the overall risk of bias was high (judged by the Cochrane Risk of Bias
                                 tool). There were 36 trials with an active control arm. Of the 19 non-TKA studies, 15
                                 failed to find a difference for all outcome variables at all time points. In the 4 of 19 that
                                 had a difference, 3 had a high bias. Even in the studies with positive results, they were
                                 deemed clinically insignificant due to magnitude of effect being small or being time-
                                 limited. In TKA studies, 15 of 17 failed to find an effect on the primary outcome. Results
                                 for nerve block indications were similar. In 12 active-controlled RCTs, only 6 found a
                                 clearly statistically significant benefit of Exparel on any outcome.

                                 The systematic review and meta-analysis by Hussain et. al. evaluated Exparel vs
                                 unencapsulated bupivacaine in peripheral nerve blocks. The primary endpoint was the
                                 24 hours to 72 hours difference in weighted mean AUC of pain scores. There were 9
                                 trials included. The difference between Exparel and bupivacaine was statistically
                                 significant (1 cm/hour, p=0.0003) in favor of Exparel but was judged to be clinically
                                 insignificant with investigators assigning 2 cm/hour as minimally clinically significant
                                 benefit. However, we would like to point out that Heron has no near-term plans to
                                 expand HTX-011 label to nerve block, so these studies are less significant from the
                                 competitive perspective.

                                 Additional studies have been published and are underway that bolster this conclusion.
                                 An RCT (randomized control trial) comparing Exparel to bupivacaine published in the
                                 Canadian Journal of Anesthesiology in January 2021 showed no improvement with
                                 Exparel in TAP blocks for open hysterectomy in time to first opioid use or total opioid
                                 consumption in 72 hours. Another RCT published in the American Journal of Obstetrics
                                 & Gynecology published in January 2021 showed no benefit to Exparel when added to
                                 unencapsulated bupivacaine after ex-lap for gynecologic indications; primary outcome
                                 was percent of patients opioid free at 48 hours. Yet another RCT published in JAMA
                                 Network Open in March 2021 randomized patients with truncal incisions to Exparel or
                                 unencapsulated bupivacaine and found that neither pain scores nor opioid use was
                                 different between the two groups.




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    Recent Articles on Exparel

    Author          Title                                                                    Journal Reference                         Description
    Ilfeld et al    Clinical Effectiveness of Liposomal Bupivacaine Administered by          Anesthesiology 2021; 134:282-344          Narrative review of 76 trials.
                    Infiltration or Peripheral Nerve Block to Treat Postoperative Pain
    Hussain et al   Perineural Liposomal Bupivacaine Is Not Superior to Nonliposomal         Anesthesiology 2021; 134:147-64           Systematic review and meta-
                    Bupivacaine for Peripheral Nerve Block Analgesia                                                                   analysis of 9 peripheral nerve
                                                                                                                                       block trials.
    Fidkowski et al A randomized-controlled trial comparing liposomal bupivacaine, plain     Canadian Journal of Anesthesiology 2021   Exparel vs bupivacaine in TAP
                    bupivacaine, and the mixture of liposomal bupivacaine and plain          https://doi.org/10.1007/s12630-020-       block.
                    bupivacaine in transversus abdominus plane block for postoperative       01911-1
                    analgesia for open abdominal hysterectomies
    Meyer et al     A prospective randomized trial comparing liposomal bupivacaine vs        Am J Obstet Gynecol 2021;224:70.e1-11     Exparel vs bupivacaine after
                    standard bupivacaine wound infiltration in open gynecologic surgery on                                             laparotomy (infiltration).
                    an enhanced recovery pathway
    Sandhu et al    Effectiveness of Standard Local Anesthetic Bupivacaine and Liposomal     JAMA Network Open. 2021;4(3):e210753.     Exparel vs bupivacaine with
                    Bupivacaine for Postoperative Pain Control in Patients Undergoing        doi:10.1001/jamanetworkopen.2021.0753     truncal incisions (infiltration).
                    Truncal Incisions
    Source: Cowen and Company




                                                             Results like this are likely to keep coming in. According to ClinicalTrials.gov there are 88
                                                             active trials testing liposomal bupivacaine (Exparel) as of March 2021. Eight of these
                                                             trials are co-sponsored by Pacira. Forty-three of those trials have primary completion
                                                             dates in the next year (March 2021 through March 2022). Although there are often
                                                             greater lags between primary completion and data publication for ISTs than industry-
                                                             funded trials, we should still expect to see a significant number of readouts over the
                                                             next year. Each readout is potentially more fuel for Heron’s marketing campaign.




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   Exparel Ongoing Trials Part 1 of 2

   NCT Number  Title                                                                                                                         Start Date Primary Completion Date Completion Date
   NCT04751344 Liposomal Bupivacaine Versus Bupivacaine Plain for Operative Pain Management of Forefoot Surgery                              16-Jun-20          Jun-22             Jun-22

   NCT03737604     TAP Blocks With Ropivacaine Continuous Infusion Catheters vs Single Dose Liposomal Bupivicaine After Kidney Transplant     4-Oct-18         1-Jun-21            1-Oct-21
   NCT04066296     Outcomes for Lumbar Decompressions With Use of Liposomal Bupivicaine                                                        Sep-21           Dec-21              Jan-22
   NCT03922620     Liposomal Bupivacaine vs Peripheral Nerve Block                                                                           23-Jan-20          Jan-21              Jan-21
   NCT04479371     Liposomal Bupivacaine vs Standard Penile Block for Hypospadias Repair                                                       Jul-21          30-Jul-22           30-Jul-23
   NCT04461028     Liposomal Bupivacaine in Shoulder Arthroscopy                                                                             21-May-19        21-May-21           21-May-22
   NCT04539730     Liposomal Bupivacaine in Adductor Canal Blocks (ACB)                                                                       1-Aug-21         1-Oct-21            1-Oct-21
   NCT03907033     Liposomal Bupivacaine in Vaginal Hysterectomy                                                                              3-Sep-19        31-Dec-21           31-Dec-21
   NCT03906617     Bupivacaine/Epinephrine +Dexamethasone vs. Liposomal Bupivacaine                                                          10-Apr-19        10-Apr-20           10-Jun-20
   NCT03738696     Liposomal Bupivacaine in Rotator Cuff Repair                                                                              15-Dec-19         1-Dec-20            1-Dec-20
   NCT04047446     Liposomal Bupivacaine vs Dexamethasone ISB                                                                                 11-Jul-19       27-Aug-21           27-Aug-22
   NCT04180943     Liposomal Bupivacaine Versus Bupivacaine for for Postoperative Pain Control in Shoulder Surgery                           13-Dec-19         1-Dec-21            1-Mar-22
   NCT02749968     Intercostal Liposomal Bupivacaine for the Management of Blunt Chest Wall Trauma                                            9-Mar-18          Jan-21              Jan-21
   NCT04382144     Levobupivacaine Versus Liposomal Bupivacaine (ExparelÂ®) for Treatment of Pain and Disability in Lateral Epicondylitis     1-Sep-20        31-Dec-21            1-May-22
                   Liposomal Bupivacaine and Intrathecal Hydromorphone for Women With Gynecological Malignancies Undergoing
   NCT04258631     Laparotomy                                                                                                                 9-Jul-20        31-Jan-22           31-Mar-22
   NCT03745040     Liposomal Bupivacaine in One-level Instrumented Posterior Spinal Fusion                                                   26-Jan-19         Jan-22              May-22
   NCT04333095     Sternal Block With Liposomal Bupivacaine vs. Saline Prior to Incision in Cardiac Surgery                                   6-Feb-20         Jun-21              Jun-21
   NCT04571606     Interscalene Catheter vs. Interscalene Liposomal Bupivacaine for Arthroscopic Rotator Cuff Repair                         14-Oct-20         Mar-21              Mar-21
   NCT04117074     Thoracic Epidural Analgesia vs Surgical Site Infiltration With Liposomal Bupivacaine Following Open Gynecologic Surgery     Mar-21          Mar-23              Mar-24
   NCT03305666     Trial of Injected Liposomal Bupivacaine vs Bupivacaine Infusion After Surgical Stabilization of Rib Fractures              5-Oct-17        20-Jul-20           31-Dec-20
   NCT03599635     Pec Infiltration With Liposomal Bupivacaine for Breast Surgery                                                             1-Jul-18         Dec-20              Dec-20
   NCT03854344     Liposomal Bupivacaine Versus Lidocaine for Skin Graft Donor Site Pain                                                     18-Mar-19        31-Dec-20           31-Dec-20
   NCT04254692     Optimizing Recovery in Abdominoplasty                                                                                      5-Jan-21         Jun-22              Jun-23
   NCT04003506     Effectiveness of Adductor Canal Block Using Liposomal Bupivacaine                                                           Dec-20          Oct-21              Oct-21

   NCT04685421 Liposomal Bupivacaine Pharmacokinetic Study After Median Sternotomy Incision Infiltration in a Pediatric Cardiac Surgery       6-Jan-21         6-Jan-22            6-Jan-23
   NCT02805504 Liposomal Bupivacaine for Postoperative Pain Control in Urologic Procedures                                                     Jun-16           Dec-22              Jun-23
   NCT03080142 TAP Block Catheters vs Liposomal Bupivacaine for Pain Control After Colorectal Surgery                                        1-Mar-17           1-Jul-19          16-Dec-20
   NCT03638960 Interscalene Single Shot With Plain Bupivacaine Versus Liposomal Bupivacaine for Arthroscopic Shoulder Surgery                21-Feb-19          Mar-21              Jun-21
   NCT04393207 TAP Block Using Liposomal Bupivacaine for Post-cesarean Delivery Analgesia- Walking Towards Recovery                          1-Aug-20         30-May-21           30-Aug-21
   NCT04360421 Use of Long-acting Bupivacaine In Lower Extremity Amputation                                                                  1-May-20          1-Feb-21            1-Feb-21
   NCT03664986 Pudendal Block Using Liposomal Bupivacaine vs. Standard Treatment During Sacrospinous Ligament Fixation                       24-Sep-18         1-May-21           1-May-21
   NCT03929146 Liposomal Bupivacaine Versus Interscalene Nerve Block                                                                          5-Feb-19         1-Dec-21            1-Dec-21
   NCT04644796 A Randomized Trial of Exparel vs Saline in Opioid Reduction of Pain Management Following Lumbar Spine Surgeries.                Apr-21            Jan-23             Jan-24
   NCT04603911 RCT Comparing ESPB Solutions in Breast Surgery                                                                                 4-Dec-20          May-21              May-21
   NCT03702621 Comparing Liposomal Bupivacaine VS Standard Bupivacaine in Colorectal Surgery                                                 30-Aug-18        31-Dec-20             Aug-21
   NCT04272086 Utility of Liposomal Bupivacaine Transversus Abdominal Plane Block for Open Myomectomy                                        9-Nov-20           Dec-22              Dec-22
   NCT03574376 Liposomal Bupivacaine Intercostal Nerve Block vs Thoracic Epidural for Regional Analgesia in Multiple Rib Fractures           29-Aug-18         1-Aug-20           1-Aug-21
   NCT03587584 Liposome Bupivacaine in Interscalene Block for Rotator Cuff Repair                                                            16-Jul-18         1-Sep-20            1-Sep-20
   NCT04585867 Liposomal Bupivacaine vs Bupivacaine for Pain Control After Sternotomy                                                        11-Oct-17        10-Oct-23           10-Oct-23
   NCT04047745 Post-operative Exparel Study Following Rotator Cuff Repair                                                                      Sep-19           Sep-21              Sep-21
   NCT04005859 Pain Control in Colorectal Surgery: Liposomal Bupivacaine Block Versus Intravenous Lidociane                                  22-Feb-18        22-Feb-20           22-Feb-20
   NCT03731221 Pectoral Fascial Plane and Serratus Anterior Plane Blocks With Bupivacaine v. Liposomal Bupivacaine                           1-Nov-18           Dec-22              Dec-22
               Repeat or Single Quadratus Lumborum Block for the Reduction of Opioid Prescriptions After Surgery in Retroperitoneal
   NCT04189783 Sarcoma Patients ("RESQU-SARC" Trial)                                                                                         8-Jun-20         31-Dec-21           31-Dec-21
   NCT04611958 Intraductal Liposomal Bupivacaine for Chronic Pancreatitis                                                                    1-Apr-21         31-Dec-21           31-May-22

   Source: Cowen and Company, ClinicalTrials.gov




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     Exparel Ongoing Trials Part 2 of 2

     NCT Number  Title                                                                                                                      Start Date Primary Completion Date Completion Date
     NCT04074226 ESP vs QL for Total Abdominal Hysterectomy                                                                                  Mar-21            Dec-22             Dec-22
     NCT04777591 Effectiveness of Exparel TAP Block in Breast Free Flap Reconstruction                                                      10-Mar-21        28-Feb-23           28-Feb-24
                 Thoracic Epidural Analgesia Versus Rectus Sheath Block Versus Surgeon Infiltration With Liposomal Bupivacaine or
     NCT04300231 Standard Bupivacaine for Post-Operative Pain Control After Cystectomy                                                      22-Oct-19          May-21             May-22
     NCT04559347 Local Anesthetic as Single Shot Versus Catheter in Patients Undergoing Video Assisted Thoracoscopic Surgery                10-Dec-20          Dec-21             Dec-22
     NCT04685876 Comparing Bupivacaine, and Placebo for Plane Blocks                                                                          Mar-21           Dec-22              Jul-23
     NCT03975283 Use of Exparel for Postoperative Analgesia Following Bariatric Surgery                                                       Aug-19           Aug-21             Aug-21
     NCT03730402 Laparoscopic Assisted Plane Block (LAPB) Trial                                                                              4-Feb-19          Sep-20             Feb-21
     NCT04209504 Evaluating Hemidiaphragmatic Paralysis With Prolonged Neural Blockade From an Interscalene Brachial Plexus Block           22-Oct-20         1-Aug-21           2-Aug-21
     NCT03870685 Surgical Site Infiltration of Exparel vs TAP Block With Exparel in Patients Undergoing Laparotomy Via Midline Incision      5-Jul-18         31-Jul-21          31-Dec-21
     NCT03682224 Exparel and Marcaine for Pain Management in Thoracoscopic Lobectomy Patients                                                5-Jul-18          5-Jul-23          5-Dec-23
     NCT04382859 TOTEM: Trial of TAP Block Effective Medications                                                                             1-Dec-20          Dec-20             Feb-21
     NCT03326180 Study of Peri-Articular Anaesthetic for Replacement of the Knee                                                            29-Mar-18          Feb-21             Aug-21
                 Comparing Local Anesthetics for Transversus Abdominis Plane (TAP) Block During Abdominally-based Free Flap for Breast
     NCT03700970 Reconstruction                                                                                                             13-Jun-19        15-Mar-21            30-Jun-21
                 A Study to Analyze the Effects of Exparel for Post-Surgery Pain Control in Patients Undergoing Penile Prosthesis
     NCT04801368 Placement                                                                                                                  1-Apr-21          1-Apr-23            1-May-23
     NCT03587636 Liposome Bupivacaine Interscalene Total Shoulder                                                                           17-Jul-18          Oct-20              Dec-20

     NCT04121338    Temporary Celiac Ganglion Block as a Test Before Celiac Ganglion Resection for Dysautonomia-Related Bowel Dysmotility   9-Dec-19          1-Oct-21            1-Oct-21
     NCT03504865    Post-Mastectomy Analgesia Using Exparel (Liposomal) Versus Standard Bupivacaine or Placebo                               1-Jul-19          Dec-20              Dec-21
     NCT03636542    Evaluation of Diaphragm Movement After an Interscalene Block                                                            1-Aug-18           Oct-21              Oct-21
     NCT03859635    Erector Spinae Block Versus Surgeon Infiltration in VATS Procedures                                                      7-Feb-19        30-Jun-21           30-Aug-21
     NCT03927326    Postoperative Analgesia in Laparoscopic Abdominal Surgery After Exparel Via TAP or Local Infiltration                     Aug-19           Jul-20              Jul-20
     NCT03827291    QL Block With Exparel in Colectomy                                                                                      31-Oct-19         1-Apr-21            8-Apr-21
     NCT04764916    Evaluation of Exparel Adductor Canal Field Block for Pain Control After ACL Reconstruction                              16-Feb-21        16-Feb-22           2-Mar-22
     NCT03496610    Surgeon Infiltration QL Block Comparison                                                                                25-Jan-21        1-Dec-21             1-Dec-21
     NCT03377595    Post C-Section Pain Control Using EXPAREL                                                                                2-Jul-19        30-Jun-20            1-Sep-20
                    Efficacy of Laparoscopic-assisted Transversus Abdominus Plane (TAP) Block Compared to Ultrasound-guided TAP Block in
     NCT04345341    Minimally Invasive Gynecologic Surgeries: A Prospective, Randomized Control Trial.                                        Oct-20          May-21               Jun-21
     NCT04781075    Modified TAP (Transverse Abdominis Plane) Block in Colorectal Surgery                                                    1-Dec-17        31-Dec-20           31-Jul-21
     NCT04655339    Laparoscopic Transversus Abdominis Plane (TAP) Block to Reduce Post-operative Opioids                                   10-Dec-20         1-Jul-24            1-Jul-24
     NCT03743194    Pectoralis and Serratus Muscle Blocks                                                                                    1-Dec-18         Dec-22              Dec-22
     NCT03187379    Efficacy of Exparel (TM) on Post-operative Pain After Laparoscopic Gastric Bypass Using Circular EEA Stapler             1-Jun-17         1-Jul-21            1-Jul-21
     NCT03827213    Exparel Interscalene vs Indwelling Catheter                                                                             22-Jan-19        29-Sep-21           29-Sep-21
     NCT03541941    Exparel vs. Bupivacaine Hydrochloride vs. Placebo for Hernia Repair                                                      3-Jul-18          Jun-21             Dec-21
     NCT04003987    ESP Block VS TAP in Laparoscopic Hysterectomy                                                                           1-May-19          Apr-21              Apr-24
     NCT03420638    EXPAREL Post-tonsillectomy Clinical Trial                                                                               15-Feb-18         1-Jul-20           31-Dec-20
     NCT04415931    Local Infiltration Analgesia Vs. Interscalene Block in Total Shoulder Arthorplasty                                      15-Aug-20        15-Jul-23           15-Jul-24
                    Thoracic Epidural Analgesia or Four-Quadrant Transversus Abdominus Plane Block in Reducing Pain in Patients
     NCT03214510    Undergoing Liver Surgery                                                                                                 4-Oct-17        31-Aug-22           31-Aug-23
     NCT03739021    Exparel for Total Shoulder Pain                                                                                           Nov-19         1-Mar-20            15-Nov-20
     NCT04046068    Multimodal Perioperative Pain Management: ComfortSafe Program                                                           11-May-20          Jul-21              Sep-21
     NCT04549090    Ultrasound Guided Posterior Quadratus Lumborum Block for Postoperative Analgesia in Gynecologic Surgery                  1-Oct-20        31-Dec-21           31-Dec-21
     NCT03867539    Exparel and Education to Avoid Opioids After Carpal Tunnel Release                                                      15-Feb-19        31-Jan-21           31-Jan-21
     NCT04364867    Exparel for Total Shoulder Arthroplasty                                                                                  1-Jun-20         1-Jun-23            1-Dec-23
     NCT04421196    Opioid-free Total Hip Arthroplasty                                                                                       1-Jul-21         1-Dec-21            1-Dec-21
                    Study to Evaluate the Efficacy, Safety, and Pharmacokinetics of EXPAREL, EXPAREL Admixed With Bupivacaine HCl vs.
                    Bupivacaine HCl Administered as Combined Sciatic and Saphenous Nerve Blocks for Postsurgical Analgesia in Subjects
     NCT04518462    Undergoing Lower Extremity Surgeries                                                                                    20-Oct-20        16-Mar-21            1-Apr-21
     NCT03972397    Intercostal Nerve Cryoablation for Postoperative Pain Management                                                        1-Aug-19         1-Aug-20             1-Aug-20
     NCT04504812    A Sequenced Strategy for Improving Outcomes in People With Knee Osteoarthritis Pain                                     1-Feb-21          Aug-24               Sep-24
     Source: Cowen and Company, ClinicalTrials.gov




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   Pacira P&L

   FY ending Dec 31st                                  2020A       1QE        2QE        3QE        4QE        2021E      2022E      2023E      2024E      2025E      2026E
   in $000s, except per share amount
   Revenues:
       EXPAREL                                          413,338    114,690    119,676    129,649    134,636    498,650    532,710    547,799    563,613    587,687    611,457
       iovera                                             8,817      2,976      2,738      3,559      2,631     11,903     15,474     19,342     23,211     26,692     29,362
       Other Product Sales                                4,459        375        345        345        435      1,500      1,500      1,500      1,500      1,500      1,500
     Total net product sales                            426,614    118,040    122,759    133,553    137,701    512,053    549,684    568,641    588,324    615,879    642,319
     Collaborative licensing and milestone revenue            0          0          0      2,230      3,344      5,574     20,167     19,463     31,824     48,185     77,578
     Royalty revenue                                      3,033        773        712        726        883      3,094      3,156      3,219      3,283      3,349      3,416
       Total revenues                                   429,647    118,814    123,470    136,508    141,928    520,721    573,006    591,322    623,430    667,413    723,312
   Operating expenses:
     Cost of goods sold                                 117,328     30,723     28,265     29,878     34,026    122,893    129,906    128,312    128,560    130,404    140,100
       Gross margin                                         73%                                                    76%        77%        78%        79%        80%        80%
     Research and development                            59,421     16,341     15,034     15,334     18,655     65,363     66,670     68,004     69,364     70,751     72,166
     Selling, general and administrative                193,516     58,055     53,410     57,683     63,071    232,219    250,797    270,860    292,529    315,932    341,206
     Product discontinuation                              5,166
     Amort. of acquired intangible                        7,866      2,000      2,000      2,000      2,000      8,000      8,000      8,000      8,000      8,000      8,000
     Total operating expenses                           383,297    107,119     98,709    104,896    117,751    428,475    447,373    475,177    498,453    525,086    561,473
       Income (loss) from operations                     46,350     11,695     24,761     31,613     24,177     92,246    125,633    116,146    124,977    142,327    161,840
   Other (expense) income:
     Interest income                                      4,629      1,169      1,169      1,169      1,169      4,675      4,722      4,769      4,817      4,865      4,914
     Interest expense                                   (25,671)    (5,776)    (5,776)    (5,776)    (5,776)   (23,104)   (20,794)   (18,714)   (16,843)   (15,158)   (13,643)
     Loss on early extinguishment of debt                (8,071)                                                     0          0          0          0          0          0
     Royalty interest obligation                              0                                                      0          0          0          0          0          0
     Other, net                                           2,852       (500)      (500)      (500)      (500)    (2,000)       100        101        102        103        104
       Total other expense, net                         (26,261)    (5,107)    (5,107)    (5,107)    (5,107)   (20,429)   (15,971)   (13,844)   (11,924)   (10,190)    (8,625)
   Income (loss) before income taxes                     20,089      6,588     19,654     26,505     19,070     71,817    109,661    102,302    113,053    132,136    153,215
     Income tax (expense) benefit                       125,434     (3,232)    (3,232)    (3,232)    (3,232)   (12,927)   (19,739)   (18,414)   (21,480)   (25,106)   (30,643)
   GAAP Net income (loss)                               145,523      3,356     16,422     23,274     15,838     58,890     89,922     83,888     91,573    107,030    122,572
   Total adjustments                                    (48,954)    14,716     14,716     14,716     14,716     58,866     48,809     50,849     52,992     55,242     57,604
   Non-GAAP Net income (loss)                            96,569     18,072     31,139     37,990     30,555    117,756    138,731    134,737    144,565    162,272    180,175
   Net income (loss) per share:
     GAAP Net income (loss) per common share               3.33       0.08       0.37       0.53       0.36       1.34       1.99       1.82       1.94       2.23       2.50
     Non-GAAP Net income (loss) per common share           2.21       0.41       0.71       0.86       0.69       2.68       3.07       2.92       3.07       3.37       3.67

   Source: Cowen and Company




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 Ticker       Rating       Price*   Price Target        Ticker        Rating            Price*           Price Target
 HRTX         Outperform   $16.59   $34.00              PCRX          Market Perform    $69.99           $54.00

*As of 04/01/2021
                                    VALUATION METHODOLOGY AND RISKS

                                    Valuation Methodology

                                    Biotechnology:
                                    In calculating our 12-month target price, we employ one or more valuation methodologies,
                                    which include a discounted earnings analysis, discounted cash flow analysis, net present
                                    value analysis and/or a comparable company analysis. These analyses may or may not
                                    require the use of objective measures such as price-to-earnings or price-to-sales multiples as
                                    well as subjective measures such as discount rates.

                                    We make investment recommendations on early stage (pre-commercial) biotechnology
                                    companies based upon an assessment of their technology, the probability of pipeline
                                    success, and the potential market opportunity in the event of success. However, because
                                    these companies lack traditional financial metrics, we do not believe there are any good
                                    methodologies for assigning a specific target price to such stocks.


                                    Investment Risks

                                    Biotechnology:
                                    There are multiple risks that are inherent with an investment in the biotechnology sector.
                                    Beyond systemic risk, there is also clinical, regulatory, and commercial risk. Additionally,
                                    biotechnology companies require significant amounts of capital in order to develop their
                                    clinical programs. The capital-raising environment is always changing and there is risk that
                                    necessary capital to complete development may not be readily available.




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  ADDENDUM
Stocks Mentioned In Important Disclosures
Ticker                                 Company Name
HRTX                                   Heron
PCRX                                   Pacira BioSciences


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The recommendation contained in this report was produced at April 05, 2021, 16:40 ET. and disseminated at April 06, 2021, 06:00 ET.


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Underperform (3): Stock is expected to achieve a total negative return of at least 10% over the next 12 months

Assumption: The expected total return calculation includes anticipated dividend yield


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Distribution of Ratings/Investment Banking Services (IB) as of 03/31/21
Rating                                                                             Count                         Ratings Distribution                    Count             IB Services/Past 12 Months
Buy (a)                                                                              540                                      68.18%                        176                               32.59%
Hold (b)                                                                             243                                      30.68%                        22                                 9.05%
Sell (c)                                                                               9                                         1.14%                       0                                 0.00%
(a) Corresponds to "Outperform" rated stocks as defined in Cowen and Company, LLC's equity research rating definitions. (b) Corresponds to "Market Perform" as defined in Cowen
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                                                                                Heron Rating History as of 04/01/2021
                                                                                             powered by: BlueMatrix
           (1):$48.00     (1):$54.00   (1):$40.00   (1):$39.00       (1):$34.00
           03/19/18       06/21/18     05/01/19     03/03/20         06/29/20
     60

     50

     40

     30

     20

     10                   I               I              I                  I                I               I               I             I         I              I              I            I
                        Jul 18         Oct 18         Jan 19             Apr 19         Jul 19             Oct 19         Jan 20         Apr 20    Jul 20         Oct 20        Jan 21       Apr 21


                                                                 (                         Closing Price                Target Price           )




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                                                               Pacira BioSciences Rating History as of 04/01/2021
                                                                                         powered by: BlueMatrix
        I:(2):NA   (2):$43.00   (2):$41.00   (2):$49.00       (2):$44.00    (2):$54.00
        09/07/16   05/02/19     08/08/19     02/20/20         04/16/20      08/06/20
   80

   70

   60

   50

   40

   30

   20
                   Jul 18        Oct 18         Jan 19             Apr 19           Jul 19          Oct 19          Jan 20       Apr 20   Jul 20    Oct 20         Jan 21        Apr 21


                                                          (                         Closing Price                 Target Price       )


Legend for Price Chart:
I = Initiation | 1 = Outperform | 2 = Market Perform | 3 = Underperform | UR = Price Target Under Review | T = Terminated Coverage | $xx = Price Target | NA = Not Available |
S=Suspended




                                                                       COWEN.COM                                                                                                     15
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